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IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
IN AND FOR H]LLSBOROUGH COUN'I`Y, FLOR[DA
CIV]L ACTION

STAR POINTE CAPITAL, LLC AS

TRUSTEE OF THE 10481LD LAND

TRUST AND BLACK POINT AS SETS iNC,

AS TRUSTEE OF THE 10481 LUCAYA DRIVE
LAND TRUST

Plaintiff, CASE NO.:
vs.

FREEDGM MORTGAGE CORPORATION

Det`endants.
/

 

COMI’LAINT TO QUIET TITLE

Plaintiff, STAR POINTE CAPITAL, LLC AS TRUSTEE CF THE 10481LD LAND
TRUS'I` AND BLACK POINT ASSETS INC_, AS TRUSTEE OF THE 10481 LUCAYA DRIVE
LAND TRUST (hereinafter “Plaintiff"), hereby files this Complaint to quiet title against
Defendant, FREEDOM MORTGAGE CORPORATION (hereinafter “Defendant"), and alleges:

1. This is an action to quiet title on real property located Within this county.

2. Plaintiff is the owner of real property via a Certiticate of Title. Tbe property that
is the subject of this action (hereinafter “subject property”) is located in this county and is
described as follows:

Lot 8, Block 14, HERITAGE ISLES PHASE 3D, according to the Plat thereof as

recorded in Plat Book 89, Pages 89, Pages 86-] through 86-10, inclusive, of the

Public Records of Hillsborough County, Florida.

3. Plaintiff is a Florida statutory land trust Which owns the subject property.

4. Upon information and belief, Defendant, FREEDOM MORTGAGE
CORPORATION is a corporation that has submitted itself to the jurisdiction of this state by
holding a mortgage on the subject property.

5. Venue is proper in this County because the subject property is located in this
county.

6. Plaintift` deraigns title as follows:

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a. On April 4, 2017, Plaintit`f took title by virtue of a Celtiticate of Title, in a
lien foreclosure action, as recorded in the official records of this County
and was recorded at OR Bool< 2483 9, Page 1337.
_ b. _ Pri.or to that, Roy Daniel Lucas II and Laura M. Lucas, husband and
_ Wif€, took_titl_e via_a_ Warra_rlty D_ee.d,that was recorded on March 30, 2010
at oR neck 19789, Page lois

7. Det`endant, FREEDOM MORTGAGE CORPORATION, may claim an interest in
the subject property by virtue of an Assignment of Mortgage recorded 04/28/17 in Ofticial
Records Boolc 24901, at Page 1032; original Mortgage in favor of MERS dated 05/15/13,
recorded 05/31/13 in Ot`ficiai Records Book 21913, at Page 1502, in the principal sum of
$240,565.00, of the Public Records of Hilisborough County, Florida.

8. The subject property is subject to the Declaration of Resnictions, recorded in
November of 1999 in the Oft'icial Records Book 9922, Page 1021 of this county. Pursuant to this
declaration, the lien for unpaid assessments is prior and superior to all other liens, except for any
first mortgage which is given to or held by an Institutional Lender, or which is guaranteed or
insured by the FHA or VA. A)'tl`cle VI, § 13.

9. Det`endant’s interest in the property appears to have started from a mortgage in
which MERS was the Mortgagee and not an institutional lender or a guaranteed FHA or VA
mortgage which would be superior pursuant to the declaration

10. Plaintift` now appears to have taken title subject to these clouds. As such
Defendants respective mortgages constitute as clouds on Plaintift"s title which must be quieted

WHEREFORE, Plaintit`f respectfully requests judgment against Defendants quieting title
to the subject property in Plaintift" s name.

OWEN & DUNIVAN, PLLC
Attomeys for Plaintiff`s.

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Bryant H. Dunivan Jr. Esq.
Fla. Bar`No.: 102594

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